Case 1:17-cv-06404-BMC-CLP   Document 414   Filed 05/18/22   Page 1 of 5 PageID #:
                                   16065
Case 1:17-cv-06404-BMC-CLP   Document 414   Filed 05/18/22   Page 2 of 5 PageID #:
                                   16066
Case 1:17-cv-06404-BMC-CLP   Document 414   Filed 05/18/22   Page 3 of 5 PageID #:
                                   16067
Case 1:17-cv-06404-BMC-CLP   Document 414   Filed 05/18/22   Page 4 of 5 PageID #:
                                   16068
Case 1:17-cv-06404-BMC-CLP   Document 414   Filed 05/18/22   Page 5 of 5 PageID #:
                                   16069
